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 6
                            UNITED STATES DISTRICT COURT
 7                         CENTRAL DISTRICT OF CALIFORNIA
 8
 9    UNITED STATES OF AMERICA,

10            Plaintiff,                          NO. CR-08-958-RHW

11            v.                                  ORDER GRANTING
                                                  DEFENDANT’S EX PARTE
12    DANTE NOEL ORPILLA,                         APPLICATION FOR
                                                  CLARIFICATION AND
13            Defendant.                          MODIFICATION OF
                                                  CONDITIONS OF PROBATION
14
           Before the Court is Defendant’s ex parte Application for Clarification and
15
     Modification of Conditions of Probation (ECF No. 76). In an earlier Order, the
16
     Court stayed Condition No. 8 that required Defendant to reside in a residential
17
     reentry center pending further development of the record.
18
           Since that time, the Court has obtained the transcript of the sentencing
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     hearing and the Government has filed its response indicating that it does not object
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     to the proposed modification. The Court finds that good cause exists to grant the
21
     request to modify the conditions of supervised release.
22
           Accordingly, IT IS HEREBY ORDERED:
23
           1. Defendant’s ex parte Application for Clarification and Modification of
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     Conditions of Probation (ECF No. 76) is GRANTED.
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     ///
28
     ORDER GRANTING DEFENDANT’S EX PARTE APPLICATION FOR
     CLARIFICATION AND MODIFICATION OF CONDITIONS OF
     PROBATION ~ 1
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 1          2. The Court modifies Condition of Supervised Release No. 8 to remove
 2 the requirement that Defendant be required to reside in a residential reentry center.
 3          IT IS SO ORDERED. The District Court Executive is directed to enter this
 4 order and to provide copies to counsel and U.S. Probation.
 5          DATED this 29th day of June, 2012.
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 7
                                         s/Robert H. Whaley
 8                                    ROBERT H. WHALEY
                                     United States District Judge
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     ORDER GRANTING DEFENDANT’S EX PARTE APPLICATION FOR
     CLARIFICATION AND MODIFICATION OF CONDITIONS OF
     PROBATION ~ 2
